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                                 UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF ALASKA


 In re:                                                               Case No. 15-00236-GS

 COOK INLET ENERGY, LLC,                                              Chapter 11

            Reorganized Debtor.1                                      Jointly Administered2

                    AMENDED FINAL DECREE CLOSING CHAPTER 11 CASES

            In accordance with the court’s Order Granting Motion for Final Decree (ECF No.1535),

 IT IS HEREBY ORDERED THAT:

            1.       The following Cases are hereby closed:

                        DEBTOR                                              CASE NO.
                        Cook Inlet Energy, LLC                              Case No. 15-00236
                        Miller Energy Resources, Inc.                       Case No. 15-00313
                        Miller Energy Services, LLC                         Case No. 15-00314
                        Miller Energy GP, LLC                               Case No. 15-00315
                        Miller Rig & Equipment, LLC                         Case No. 15-00316
                        Miller Drilling, TN LLC                             Case No. 15-00318
                        East Tennessee Consultants, Inc.,                   Case No. 15-00319
                        East Tennessee Consultants II, L.L.C.               Case No. 15-00320
                        Anchor Point Energy, LLC                            Case No. 15-00321
                        Savant Alaska, LLC                                  Case No. 15-00322
                        Nutaaq Operating LLC                                Case No. 15-00323


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     The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are
     Cook Inlet Energy, LLC, an Alaska limited liability company (6643); Miller Energy Resources, Inc., a Tennessee
     corporation (8629); Miller Drilling, TN LLC, a Tennessee limited liability company (8891); Miller Energy
     Services, LLC, a Delaware limited liability company (8670); Miller Energy GP, LLC, a Delaware limited liability
     company (0999); Miller Rig & Equipment, LLC, a Delaware limited liability company (8727); East Tennessee
     Consultants, Inc., a Tennessee corporation (3108); East Tennessee Consultants II, L.L.C., a Tennessee limited
     liability company (0107); Anchor Point Energy, LLC, an Alaskan limited liability company (7946); Savant Alaska,
     LLC, a Colorado limited liability company (0579); and Nutaaq Operating LLC, an Alaska limited liability
     company (2908).
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     The jointly-administered Chapter 11 Cases are: (i) Cook Inlet Energy, LLC, Case No. 15-00236; (ii) Miller Energy
     Resources, Inc., Case No. 15-00313; (iii) Miller Energy Services, LLC, Case No. 15-00314; (iv) Miller Energy
     GP, LLC, Case No. 15-00315; (v) Miller Rig & Equipment, LLC, Case No. 15-00316; (vi) Miller Drilling, TN
     LLC, Case No. 15-00318; (vii) East Tennessee Consultants, Inc., Case No. 15-00319; (viii) East Tennessee
     Consultants II, L.L.C., Case No. 15-00320; (ix) Anchor Point Energy, LLC, Case No. 15-00321; (x) Savant
     Alaska, LLC, Case No. 15-00322; (xi) Nutaaq Operating LLC, Case No. 15-00323 (collectively, the “Cases”).
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        2.      Entry of this Final Decree is without prejudice to the rights of the Reorganized

 Debtors or any party in interest to seek to reopen these Cases for cause pursuant to § 350(b) of

 the Bankruptcy Code.

        3.      The Reorganized Debtors shall, on or before 30 days after entry of this Final

 Decree:

             a. Pay all fees due and payable, if any, pursuant to 28 U.S.C. § 1930(a)(6) with

                respect to the Cases; and

             b. File a post-confirmation quarterly report for the last period during which the

                Cases remained open.

        4.      Entry of this Final Decree is without prejudice to the rights of the U.S. Trustee to

 reopen these Cases to seek appropriate relief in the event of an unresolved dispute over the

 payment of fees pursuant to 28 U.S.C. § 1930(a)(6) or the post-confirmation report.

        5.      The Reorganized Debtors and their agents are authorized to take all actions

 necessary to effectuate the relief granted pursuant to this Final Decree in accordance with the

 Motion.

        6.      Notwithstanding the entry of this Final Decree, the Court retains exclusive

 jurisdiction over any pending contested matters, including the Trustee’s Objection to Proof of

 Claim No. 183 Filed by Scott Boruff in Case No. 15-00313 [Docket No. 747], and pending

 adversary proceedings in these cases to the fullest extent provided for under the Joint Plan of

 Reorganization of Miller Energy Resources, Inc. and Certain of its Subsidiaries Under Chapter

 11 of the Bankruptcy Code [Docket No. 364].           The pending avoidance actions this Court

 expressly reserves jurisdiction over include, but are not limited to:




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             TITLE                                                    ADV. NO.
             All American Oilfield, LLC v. Cook Inlet Energy LLC      Adv. No. 16-90002
             CIE Preference Common Issues                             Adv. No. 17-60002
             Gebhardt v. AK Supply, Inc.                              Adv. No. 17-90008
             Gebhardt v. A&L Construction, Inc.                       Adv. No. 17-90011
             Gebhardt v. Blue Water Navigation, LLC                   Adv. No. 17-90012
             Gebhardt v. Northair, Inc.                               Adv. No. 17-90023
             Gebhardt v. TH1 LLC                                      Adv. No. 17-90030
             Gebhardt v. Inman                                        Adv. No. 17-90041
             Gebhardt v. Great Northern Testing, LLC                  Adv. No. 17-90044
             Gebhardt v. Marcum & Petroff, PC                         Adv. No. 17-90046
             Gebhardt v. Petroleum Equipment & Services, Inc.         Adv. No. 17-90049
             Gebhardt v. Tarpon Pipe & Supply LP                      Adv. No. 17-90053
             Gebhardt v. Kenai Aviation, Inc.                         Adv. No. 17-90055
             Gebhardt v. Moore & Moore Services, Inc.                 Adv. No. 17-90056
             Gebhardt v. Resource Energy Solutions, Inc.              Adv. No. 17-90058
             Gebhardt v. H and H Industrial, Inc.                     Adv. No. 17-90069
             Gebhardt v. Miller                                       Adv. No. 17-90072
             Gebhardt v. SA Operating, LLC                            Adv. No. 17-90073


        7.      Entry of this Final Decree shall not moot nor have any effect upon the pending

 contested matters and pending avoidance actions.

        8.      The document retention protocol set forth in paragraph 38 of the Order

 Confirming Joint Plan of Reorganization of Miller Energy Resources, Inc. and its Subsidiaries

 Under Chapter 11 of the Bankruptcy Code [Docket No. 502], and any obligations of the Debtors

 and Reorganized Debtors thereunder, are not affected and shall remain enforceable

 notwithstanding the entry of this Final Decree.

        9.      Notwithstanding anything to the contrary, the terms and conditions of this Final

 Decree are immediately effective and enforceable upon its entry.




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        10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation and enforcement of this Final Decree.

 Signed on this 5th day of September, 2018.

                                              /s/ Gary Spraker
                                              GARY SPRAKER
                                              United States Bankruptcy Judge

 Serve: D. Bundy, Esq.
        D. Zdunkewicz, Esq.
        C. Christianson, Esq.
        E. LeRoy, Esq.
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        ECF Participants via NEF
        Case Manager




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